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 6                                 UNITED STATES DISTRICT COURT
 7                                            DISTRICT OF ARIZONA
 8    Victor Parsons; Shawn Jensen; Stephen Swartz;                 No. CV 12-00601-PHX-ROS
      Dustin Brislan; Sonia Rodriguez; Christina
 9    Verduzco; Jackie Thomas; Jeremy Smith; Robert
      Gamez; Maryanne Chisholm; Desiree Licci; Joseph                 [PROPOSED] ORDER
10    Hefner; Joshua Polson; and Charlotte Wells, on                  GRANTING PLAINTIFFS’
      behalf of themselves and all others similarly                   MOTION TO EXCLUDE
11    situated; and Arizona Center for Disability Law,                CERTAIN TESTIMONY AND
                                                                      EVIDENCE AND REQUEST
12                              Plaintiffs,                           FOR EXPEDITED
                                                                      CONSIDERATION
13            v.

14    David Shinn, Director, Arizona Department of
      Corrections, Rehabilitation and Reentry; and Larry
15    Gann, Assistant Director, Medical Services Contract
      Monitoring Bureau, Arizona Department of
16    Corrections, Rehabilitation and Reentry, in their
      official capacities,
17
                                Defendants.
18
19           The Court, having reviewed Plaintiffs’ Motion to Exclude Certain Testimony and
20   Evidence, and Request for Expedited Consideration, and finding good cause, hereby
21   GRANTS Plaintiffs’ Motion to Exclude.
22           IT IS ORDERED:
23                 1. Defendants shall not be permitted to introduce testimonial or other evidence
24                      that would be covered by Topics 1, 2, 3, 4, 5, 6, 7, 8, 9, 11, 12, and 15 of the
25                      Rule 30(b)(6) Deposition Notice on Isolation.
26                 2. Defendants shall not be permitted to introduce testimonial or other evidence
27                      that would be covered by Topics 13 or 14 of the Rule 30(b)(6) Deposition
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 1                      Notice on Isolation, to the extent such evidence relates to how staffing is
 2                      managed at ASPC-Lewis Rast.
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